                  IN THE UNITED STATES BANKRUPTCY COURT
              NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

   IN RE:                                  )
   H&B HOLDINGS, INC.,                     )
                                           ) CASE NO. 19-82417-CRJ11
   EIN: XX-XXX516                          ) CHAPTER 11
                                           )
       DEBTOR.                             )




         SECOND AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF
                         H&B HOLDINGS, INC.,
                   DEBTOR AND DEBTOR-IN-POSSESSION




                                   FEBRUARY 21, 2020




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                  DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION
                            DATED FEBRUARY 21, 2020

        In accordance with 11 U.S.C. §1124, H&B Holdings, Inc., debtor and debtor-in-possession
 ("Debtor") in the above-captioned Chapter 11 case, files this Plan of Reorganization dated
 February 21, 2020 (the "Plan"), in the United States Bankruptcy Court for the Northern District of
 Alabama, Northern Division ("Bankruptcy Court" or "Court").

                                                I.
                                           DEFINITIONS

         The following terms shall have the following meanings unless the context otherwise
 requires and, unless otherwise indicated, the singular shall include the plural. The definitions
 contained in §§ 101 and 1101 of the Bankruptcy Code shall control unless different definitions are
 stated herein, in which case the definitions as stated herein shall control for purposes of this Plan.

 1.01   "Accounting Fees" means accounting and/or administrative management fees for
        preparing tax returns and other financial reports.

 1.02   "Administrative Claim" means a claim for any cost or expense of administration of the
        Reorganization Case allowed under § 503(b) of the Bankruptcy Code, including without
        limitation any claim for the actual and necessary costs and expenses of preserving the
        Debtor's estate and all allowances of compensation or reimbursement of expenses to the
        extent allowed by the Bankruptcy Court.

 1.03   "Allowed Amount" means the amount of any Allowed Claim.

 1.04   "Allowed Claim" means:

        A.      Any claim in any Class:

                1.      proof of which has been filed with the Bankruptcy Court prior to the Bar
                        Date or which has been scheduled by the Debtor and not shown as disputed,
                        contingent, or unliquidated; and
                2.      to which no objection has been made within the Disclosure Statement or to
                        which no objection is filed within thirty (30) days of the date of the effective
                        date or which has been allowed by Final Order; or

        B.      Any Administrative Claim for which a motion or fee application has been filed and
                approved by the Court.

 1.05   "Allowed Secured Claim" means a claim that is both an Allowed Claim and a Secured
        Claim.

 1.06   "Allowed Unsecured Claim" means a claim that is both an Allowed Claim and an
        Unsecured Claim.

 1.07   "Bankruptcy Code or Code" means Chapter 11 of Title 11, United States Code.

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 1.08   "Bankruptcy Court" or "Court" means the United States Bankruptcy Court for the
        Northern District of Alabama, Northern Division.

 1.09   "Bankruptcy Rule" or "Bankruptcy Rules" means one or more of the Federal Rules of
        Bankruptcy Procedure.

 1.10   "Bar Date" means the date established by the Court as the deadline for filing all claims.
        Bar date for governmental claim holders in a Chapter 11 case is 180 days from the date of
        filing. Claims filed after the Bar Date, which are not otherwise Allowed Claims, will be
        disallowed and of no effect.

 1.11   "Claim" means a claim or interest as defined by the Code.

 1.12   "Class" means one of the classes of allowed claims or equity interests established by the
        Plan.

 1.13   "Confirmation Date" means the date of the Confirmation Order becoming final.

 1.14   "Confirmation Order" means the Final Non-Appealable Order of the Court determining
        that the Plan meets the requirements of the Bankruptcy Code and is entitled to
        confirmation.

 1.15   "Court" means the United States Bankruptcy Court for the Northern District of
        Alabama, Northern Division.

 1.16   "Debtor" means H&B Holdings, Inc.

 1.17   "Disbursing Agent" means Harvey “Hank” R. Robbins, III.

 1.18   "Effective Date" means thirty (30) days after the Confirmation Date.

 1.19   "Filing Date" with respect to the Debtor means August 13, 2019, the date on which the
        case was commenced by the Debtor’s filing for relief under Chapter 11 of the Bankruptcy
        Code.

 1.20   "Final Decree" means the Order entered by the Bankruptcy Court which closes the case.

 1.21   "Final Order" means an order of the Court that has become conclusive of all matters
        adjudicated by such order and

        A.     that is not the subject of a pending appeal and for which the time to appeal or seek
        review or rehearing of such order has expired, or

        B.     that is the subject of a pending appeal but has not been stayed or as to which no
        supersedeas bond has been posted.

 1.22   "IRS" means the United States Treasury, Internal Revenue Service.



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 1.23   “Net Plan Profits” means net profits determined in accordance with generally accepted
        accounting principles consistently applied: (a) less administrative payments which are due
        on or before the date on which Net Plan Profits are being calculated; (b) less any payments
        required by this Plan, which are due on or before the date on which Net Plan Profits are
        being calculated, other than payments out of Net Plan Profits.

 1.24   "Plan" means this Plan of Reorganization and any subsequent amendments.

 1.25   "Post-Petition" means the Filing Date and the period after the Filing Date.

 1.26   "Pre-Petition" means the period preceding the Filing Date.

 1.27   "Priority Claim" means those expenses and claims which may be provided for under 11
        U.S.C. §§ 507 (a) (2)--(9) of the Code.

 1.28   "Proponent" means Debtor.

 1.29   "Pro-rata Share" means the same proportions that a given Allowed Claim within a Class
        bears to the total Allowed Claims of such class.

 1.30   "Reorganization Case" with respect to the Debtor means the reorganization case under
        Chapter 11 of the Bankruptcy Code.

 1.31   "Secured Claim" means a claim allowed as secured in the real or personal property of the
        Debtor.

 1.32   "Unsecured Claim" means an allowed claim other than an Administrative Expense
        Claim, Priority Claim, or a Secured Claim.

                                   II.
           CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

 2.0    UNCLASSIFIED CLAIMS

        A.     Administrative Expense Claims. Administrative Expense Claims shall consist of
        all administrative expense claims of the Debtor’s Chapter 11 case as allowed pursuant to
        § 503(b) of the Code and given priority in accordance with § 507(a)(1) of the Code. These
        claims are divided into the following sub-categories:

               Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm of
        Maples Law Firm, P.C. relating to the firm’s representation of the Debtor in Bankruptcy.
        These legal fees, if approved by the Court, shall constitute an Administrative Expense
        Claim which is unimpaired and shall be paid either upon the Effective Date of the Plan or
        in a manner agreed upon by the Debtor and Maples Law Firm. The amount of professional
        compensation due at confirmation is estimated to be approximately $55,000.00.




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                Hall Tanner Hargett, P.C.: Employment of Hall Tanner Hargett P.C., as special
        counsel, is currently pending approval before the Court and is set for hearing February 24,
        2020. If approved, Hall Tanner Hargett, P.C. bills at an hourly rate according to their menu
        of services performed. These legal fees shall constitute an Administrative Expense Claim
        which is unimpaired and shall be paid in full as of the Effective Date of the Plan.

        B.      Tax Claims.

                (i)     The Allowed Tax Claim of the IRS.

                (ii)    The Allowed Tax Claim of the Alabama Department of Revenue.

 2.01   UNIMPAIRED CLASSES

        All classes of claims are impaired under the Plan.

 2.02   IMPAIRED CLASSES

        Class 1 – Allowed Secured of De Lage Landen Financial Services.
        Class 1 shall consist of the Allowed Secured Claim of De Lage Landen Financial Services
        (“De Lage”). A proof of claim has been filed for $28,424.16, accruing interest at 4.25%,
        per annum.

        Class 2 – Allowed Secured of First Metro Bank.
        Class 2 shall consist of the Allowed Secured Claim of First Metro Bank (“First Metro”).
        A proof of claim has been filed for $2,915,041.50, accruing interest at 5.00%, per annum.

        Class 3 – Allowed Secured of CB&S Bank.
        Class 3 shall consist of the Allowed Secured Claim of CB&S Bank (“CB&S”). A proof of
        claim has been filed for $1,165,786.91, accruing interest at 5.75%, per annum.

        Class 4 - Allowed Unsecured Claims.
        Class 4 shall consist of the Allowed Unsecured Claims of all other unsecured creditors.

        Class 5 – Equity Interest Holders.
        Class 5 shall consist of the equity position of Member Harvey F. Robbins, III in the Debtor.

                                   III.
          IMPAIRMENT AND TREATMENT OF CLASSES UNDER THE PLAN

         The Plan will be summarized by incorporation of pertinent portions. Other provisions of
 the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.




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 3.0    TREATMENT OF UNCLASSIFIED CLAIMS

        A.       Administrative Expense Claims: This class shall consist of all administrative
 expense claims of the Debtor's Chapter 11 case as allowed pursuant to § 503(b) of the Code and
 given priority in accordance with § 507(a)(1) of the Code. This class is divided into the following
 sub-classes:

               Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm of
        Maples Law Firm, P.C. relating to the firm’s representation of the Debtor in Bankruptcy.
        These legal fees, if approved by the Court, shall constitute an Administrative Expense
        Claim which is unimpaired and shall be paid either upon the Effective Date of the Plan or
        in a manner agreed upon by the Debtor and Maples Law Firm. The amount of professional
        compensation due at confirmation is estimated to be approximately $55,000.00.

                Hall Tanner Hargett, P.C.: Employment of Hall Tanner Hargett P.C., as special
        counsel, is currently pending approval before the Court and is set for hearing February 24,
        2020. If approved, Hall Tanner Hargett, P.C. bills at an hourly rate according to their menu
        of services performed. These legal fees shall constitute an Administrative Expense Claim
        which is unimpaired and shall be paid in full as of the Effective Date of the Plan.

        B.      Tax Claims.

                 (i)  IRS: The IRS asserts a Priority Claim of $4,212.94. The Allowed Priority
                 Claim of the IRS shall be paid in sixty (60) equal monthly installments,
                 commencing sixty (60) days after the Effective Date of the Plan. Payment on the
                 IRS Tax claim shall be $77.59 per month, at 4% interest, per annum.

                 (ii) Alabama Department of Revenue: The Alabama Department of Revenue
                 (“ADOR”) asserts Priority Claims in the total amount of $24,980.42. The Allowed
                 Priority Claims of ADOR shall be paid in sixty (60) equal monthly installments,
                 commencing sixty (60) days after the Effective Date of the Plan. Payment on the
                 ADOR Tax claims shall be $460.05 per month, at 4% interest, per annum.

 3.01   TREATMENT OF IMPAIRED CLAIMS

        Classified Claims:

        Class 1 – Allowed Secured of De Lage Landen Financial Services.
        Class 1shall consist of the Allowed Secured Claim of De Lage in the amount of $28,424.16.
        The De Lage collateral has been surrendered, satisfying the secured claim of De Lage. De
        Lage shall have 60 days from the Effective Date to file an unsecured deficiency claim.

        Class 2 – Allowed Secured of First Metro Bank.
        Class 2 shall consist of the Allowed Secured Claim of First Metro. It is anticipated that
        First Metro will continue to be serviced by the lease, or paid off by the sale of its real estate
        collateral owned by H&B Properties, LLC, a related non-filing entity.


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        Class 3 – Allowed Secured of CB&S Bank.
        Class 3 shall consist of the Allowed Secured Claim of CB&S. It is anticipated that CB&S
        will continue to be serviced by the lease, or paid off by the sale of its real estate collateral
        owned by H&B Properties, LLC, a related non-filing entity.

        Class 4 - Allowed Unsecured Claims.
        Class 4 consists of the Allowed Unsecured Claims of all other unsecured creditors. The
        Allowed Unsecured Claims of the unsecured creditors will be paid the net proceeds of the
        Derksen Claim. This gross claim less Administrative Expenses and Tax Claims.

        It is anticipated that the Derksen Claim may be worth $150,000.00—$300,000.00.

        Class 5 – Equity Interest Holders.
        Class 5 shall consist of the equity position of Member Harvey F. Robbins, III in the Debtor.
        The Member, or his assigns, will receive no equity distribution (other than salary) unless
        and until Class 4 is paid in full.

                                       IV.
                    PROVISIONS FOR REJECTION AND ASSUMPTION
                            OF EXECUTORY CONTRACTS

        To the best of Debtor’s knowledge, it is a party to one or more executory contracts. The
 Debtor proposes to reject the existing executory contracts.

                                         V.
                           MEANS OF EXECUTION OF THE PLAN

 5.01   Means of Implementation of the Plan.

        H&B Properties, LLC, which is funded by Mr. Robbins, cannot continue to pay the notes
 without being paid the lease amount each month. At that time H&B Properties, LLC will lease
 the property to a third party in order to reduce the monthly deficit or eliminate it altogether. In
 addition, H&B Properties, LLC will assume both banknotes.

         The treatment operations are to be leased to C&T Sales, LLC for $15,000.00 per month,
 subject to approval by this Court. The pallet operations will be leased to Pallet Repairs, LLC, (an
 entity owned by Mr. Robbins) for $5,000.00 per month. The yard or “white” operations are being
 negotiated to lease for approximately $8,500.00 per month to Lumber One.

         Debtor shall implement the terms of the Plan by executing all documents necessary. Debtor
 shall also execute such additional documents as are necessary to comply with the terms of the Plan.
 H&B Properties, LLC owns the property and equipment and has been and is currently paying both
 Class 2 and Class 3, which totals $30,422.52 monthly. The property and equipment are collateral
 for both notes. Debtor has not been paying the lease amount to H&B Properties, LLC which equals
 the banknote amounts and does not appear that it will be able to.



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       The resulting leases will leave a shortfall to the secured lenders of $2,000.00 per month,
 which will be funded by Mr. Robbins.

         Mr. Robbins has also agreed to fund the Derksen Claim, from which the net proceeds, (after
 repaying Mr. Robbins for fees expended would be used to pay unsecured creditors pro rata. It is
 anticipated that unsecured creditors would be returned from $100,000.00 to $250,000.00.

 5.02 Execution of All Documents. The Plan authorizes the Debtor to execute all documents
 necessary to carry out the terms of the Plan.

 5.03 Objections to Claims and Allowances. No payment or distribution shall be made to the
 holder of a claim against which an objection has been filed within thirty (30) days after the
 Effective Date until any such objection to a claim has been determined by Final Order of the Court.
 Disputed and unliquidated claims shall be estimated for purposes of voting and unless the Court
 orders otherwise, payments to holders of contested claims that are subsequently allowed shall be
 made in accordance with the terms of the Plan. Contest of claims shall be filed with the Court no
 later than sixty (60) days after the Effective Date.

 5.04 Retention of Assets. Except as provided for in the Plan or in the order confirming the
 Plan, on the Confirmation Date the Debtor shall be vested with all of the property of the estate and
 shall retain all property rights free and clear of all liens, charges, and other interests of the creditors.

                                      VI.
                   MODIFICATION AND CONFIRMATION OF THE PLAN

 6.01 Pre-Confirmation Modifications. Debtor may propose modifications hereof at any time
 prior to Confirmation without leave of this Court, upon such notice as may be required by this
 Court. If such modification is made after acceptance hereof, this Plan as so modified shall be
 deemed accepted by all holders of Claims and equity interests that have previously accepted this
 Plan, provided that this Court finds that such modification would not materially and adversely
 change the treatment of the holders of Claims or equity interests that have not accepted such
 modification in writing.

 6.02    Post-Confirmation Modifications.

         A.      Except as provided in Subsection B of this section, Debtor may modify this Plan
         after Confirmation only if this Court determines that this Plan as so modified meets all of
         the requirements for confirmation.

         B.     Notwithstanding Subsection A of this section, the Debtor may modify this Plan
         during the period between the Confirmation Date and the "substantial consummation,"
         provided that this Court determines only that such modification does not materially and
         adversely change the treatment of claims or equity interests but merely remedies a defect
         or omission or reconciles an inconsistency in or between this Plan and/or the Confirmation
         Order in such manner as may be necessary to carry out the purposes and effect hereof.



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 6.03   Effect of Confirmation.

        A.     Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of
        a Claim whether or not

               1.      the Claim of such holder is impaired hereunder or
               2.      such holder has accepted this Plan.

        B.      Except as otherwise provided herein or in the Confirmation Order, Confirmation
        vests all of the property of the estate in Debtor, free and clear of all claims.

        C.     Except as provided for in §1141(d)(5), Confirmation discharges the Debtor from
        any debt that arose before the Confirmation Date and any claim of a kind specified in
        §§ 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not

               1.      a proof of claim is filed with respect thereto,
               2.      the debt appears in the schedules of liabilities filed by the Debtor,
               3.      the debt is allowed, or
               4.      the holder of such debt has accepted this Plan.

        D.      Confirmation shall constitute approval or ratification by this Court of the
        assumption or rejection of the Debtor' executory contracts and unexpired leases pursuant
        to Section IV hereof.

        E.      Confirmation shall constitute approval by this Court of all financing arrangements,
        leases, contracts, and other actions that the Debtor propose in the Disclosure Statement or
        herein, to enter into, make, or take in connection with implementation hereof, including the
        execution of any documents as of the Effective Date.

                                   VII.
               RETENTION, ENFORCEMENT, AND WAIVER OF CLAIMS

 7.01 Pursuant to § 1123(b)(3) of the Code, the Debtor shall retain and may enforce any and all
 claims of the Debtor except claims waived, relinquished, or released in accordance with the Plan.

 7.02 No party in interest except the Debtor shall maintain or commence an action to recover a
 preference as defined in § 547(b) of the Code after the Confirmation Order is entered.

 7.03 Contests of claims shall be filed with the Court not later than thirty (30) days after the
 Effective Date.


                                         VIII.
                              JURISDICTION OF THE COURT

 8.01 Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction over the
 Reorganization Case for the following purposes:

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        A.      To determine any and all objections to the allowance of claims or interests;

        B.     To determine any and all applications for allowances of compensation and
        reimbursement of expenses and any other fees and expenses authorized to be paid or
        reimbursed under the Bankruptcy Code or the Plan;

        C.      To determine any applications or motions pending on the Effective Date for the
        rejection, assumption, or assumption and assignment of any executory contract and to hear
        and determine and, if need be, to liquidate any and all claims arising therefrom;

        D.     To determine any and all applications, adversary proceedings, and contested
        matters that may be pending on the Effective Date;

        E.     To consider any modification of this Plan and/or remedy any defect or omission or
        reconcile any inconsistency in any Order of the Court, to the extent authorized by the Court;

        F.      To determine all controversies, lawsuits, and disputes that may arise in connection
        with the interpretation, enforcement, or consummation of the Plan or that may involve or
        affect the value of assets of the Company administered by the Plan;

        G.      To consider and act on the compromise and settlement of any claim against or cause
        of action by or against the Debtor arising under or in connection with the Plan;

        H.     To issue such orders in aid of execution of the Plan to the extent authorized by
        § 1142 of the Bankruptcy Code;

        I.     To determine such other matters as may be set forth in any Order or Orders
        confirming the Plan or which may arise in connection with the Plan or any other Order or
        Orders confirming the Plan.

                                          IX.
                                MISCELLANEOUS PROVISIONS

 9.01 Prior Court Orders. All prior orders entered by the United States Bankruptcy Court for
 the Northern District of Alabama are hereby incorporated by reference, including their terms,
 conditions, benefits, requirements, and obligations.


 9.02 Cramdown. With respect to any class not accepting the Plan, the Proponents do hereby
 request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the grounds that
 the Plan does not discriminate unfairly and is fair and equitable with respect to each class of Claims
 that are impaired.

 9.03 Quarterly Fees. The Debtor will make its quarterly fees to the Bankruptcy Administrator
 pursuant to 28 U.S.C. §1930. Debtor will continue to make these payments as required post-
 petition.


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 9.04 Compliance with Tax Requirements. In connection with the Plan, the Debtor will
 comply with all withholding and reporting requirements imposed by federal, state, and local taxing
 authorities, and all distributions hereunder shall be subject to such withholding and reporting
 requirements.


 9.05 Retention of Liens. Each creditor whose claim is secured by a lien or mortgage on
 property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid in full
 according to the treatment proposed under the Plan, at which time the lien shall be released.

 9.06   Employment and Payment of Professionals.

        A.      During the period between the Confirmation Date and the Effective Date, Debtor
        may

                1.      continue to avail itself of the services of professional persons whose
                        employment was approved at or prior to Confirmation in completing the
                        administration of this case and in the consummation and performance
                        hereof and

                 2.     if necessary and with the approval of this Court, employ additional
                        professional persons to render such services.

        B.      With respect to services rendered and expenses incurred in or in connection with
        this case during such period by any such professional person, the professional person may
        render periodic billings therefore to the Debtor and the Debtor shall promptly pay the same,
        but each such payment shall be subject to review and approval by this Court as to the
        reasonableness thereof.


 9.07 Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan, all
 of the motions, applications for compensation to professionals, and notices of such hearings shall
 be limited to the Debtor, the Bankruptcy Administrator, and any party of interest directly affected
 by such motion or application.

 9.08 Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and in
 complete satisfaction, discharge, and release of all Allowed Claims, liens, and encumbrances of
 any nature whatsoever, including any interest accrued thereon from and after the Filing Date,
 against the Debtor or any of its assets; and, except as otherwise provided herein, on Confirmation,
 all such Allowed Claims against the Debtor or its assets and any other or further Allowed Claim
 based upon any act or omission, transaction, or other activity of any kind or nature that occurred
 prior to Confirmation are satisfied, discharged, and released.

 9.09 Claims of Tidwell Construction Payable by Third Parties or Insurance.
 Notwithstanding anything to the contrary in the Plan or Confirmation Order, Confirmation and
 Consummation of the Plan shall not enjoin, discharge, preclude, limit or affect the rights of Jerry
 Tidwell Construction, Inc. d/b/a Tidwell Construction from prosecuting and seeking collection of
 any Claim against:
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 (i)     The Debtor provided any resulting judgment or settlement on the Claim will be paid by an
 insurer or indemnitor of the Debtor, or from the proceeds of an insurance policy, including without
 limitation any general commercial liability or D&O policy of insurance; or

 (ii)     A non-debtor party, including without limitation any insurer or indemnitor of the Debtor,
 or from the proceeds of any insurance policy, including without limitation any general commercial
 liability or D&O policy of insurance.

 Tidwell Construction shall not seek collection of any Claim from Property of the Debtor’s Estate
 absent further Order of the Bankruptcy Court.

                                            X.
                                      CLOSING OF CASE

 10.1 Procedure for Closing Case. If the Court concludes that a hearing on such motion would
 be appropriate, such hearing shall be conducted upon notice only to the Debtor, the Bankruptcy
 Administrator, and persons specially requesting notices at the hearing on confirmation.

        Respectfully submitted February 21, 2020.

                                                       Debtor and Debtor-in-possession
                                                       H&B HOLDINGS, INC.

                                                       /s/ Harvey F. Robbins, III
                                                       HARVEY F. ROBBINS, III, PRESIDENT
                                                       /s/ Stuart M. Maples
                                                       STUART M. MAPLES, COUNSEL FOR DEBTOR

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                                 CERTIFICATE OF SERVICE

         I do hereby certify that on February 21, 2020, a copy of the foregoing document was served
 on the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 P.O. Box 3045
 Decatur, AL 35602

 All parties requesting notice

         I do hereby certify that on February 21, 2020, a copy of the foregoing document was served
 on the following by mailing a copy of the same United States Mail, properly addressed and first-
 class postage prepaid.

 All parties on the matrix attached hereto

                                                      /s/ Stuart M. Maples
                                                      STUART M. MAPLES




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Label Matrix for local noticing           De Lage Landen Financial Services, Inc.   H&B Holdings, Inc.
1126-8                                    1111 Old Eagle School Road                4625 Hickory Lane
Case 19-82417-CRJ11                       Wayne, PA 19087-1453                      Tuscumbia, AL 35674-4903
NORTHERN DISTRICT OF ALABAMA
Decatur
Fri Feb 21 11:24:53 CST 2020
United Lumber & Reman, LLC                U. S. Bankruptcy Court                    *Alabama Department of Revenue
980 Ford Road                             400 Well Street                           PO Box 327483
Muscle Shoals, AL 35661-1118              P. O. Box 2775                            Montgomery, AL 36132-7483
                                          Decatur, AL 35602-2775


*Alabama Deptartment of Revenue           *Arnold’s Truck Stop, Inc.                *CB&S
Department of Revenue Legal Division      1460 Highway 20                           PO Box 910
PO Box 320001                             Tuscumbia, AL 35674-6078                  Russellville, AL 35653-0910
Montgomery, AL 36132-0001


*Carter Oil Company                       *EV Logistics                             (p)FIRST METRO BANK
PO Box 487                                26 W. Zarate St.                          406 W AVALON AVENUE
Sheffield, AL 35660-0487                  Rio Grande City, TX 78582-6112            MUSCLE SHOALS AL 35661-2808



*Harvey F. Robbins, III                   *JRC Transportation, Inc.                 *Nextran Truck Center
100 B South Main St.                      PO Box 15101                              PO Box 820
Tuscumbia, AL 35674-2429                  Newark, NJ 07192-5101                     Fultondale, AL 35068-0820



*Ohio Valley Transport, Inc.              *Premier Trailers, LLC                    *Robbins Properties, Inc.
750 Economy Dr.                           PO Box 206553                             100 B South Main St.
Clarksville, TN 37043-2429                Dallas, TX 75320-6553                     Tuscumbia, AL 35674-2429



*Shappire Lumber Co., Inc.                (p)SUNBELT PAPER & PACKAGING INC          *Taylor Supply Center
109548 Tammany Lane                       P O BOX 521                               c/o Roy Taylor
Hamilton, MT 59840                        SAGINAW AL 35137-0521                     PO Box 1026
                                                                                    Russellville, AL 35653-1026


*Total Quality Logistics                  *Troy Corporation                         *United Lumber
PO Box 634558                             PO Box 824736                             980 Ford Rd
Cincinnati, OH 45263-4558                 Philadelphia, PA 19182-4736               Muscle Shoals, AL 35661-1118



*Weyerhauser                              ASM Consulting, Inc.                      Alabama Dept. of Revenue
PO Box 843568                             2949 County Road 30                       PO Box 2401
Dallas, TX 75284-3568                     Florence, AL 35634-6620                   Montgomery, AL 36140-0001



Baggett Services, Inc.                    Beverly Robbins                           C.H. Robinson Worldwide, Inc.
2 South 32nd St.                          100 B South Main St.                      Receivables Control Corp. (RCC)
Birmingham, AL 35233-3018                 Tuscumbia, AL 35674-2429                  7373 Kirkwood Ct., Ste 200
                                                                                    Osseo, MN 55369-5264

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De Lage Landen                         De Lage Landen, Financial Services       Free State Trucking, LLC
PO Box 41602                           1111 Old Eagle School Road               64 Co Rd 3729
Philadelphia, PA 19101-1602            Attn: Ken Jones, Litigation & Recovery   PO Box 398
                                       Wayne, PA 19087-1453                     Addison, AL 35540-0398


Global Fire Sprinklers, LLC            H&B Holding, Inc.                        H&B Properties, LLC
4242 Bryson Blvd                       Wells Fargo Bank, N.A.                   100 B South Main St.
Florence, AL 35630-7319                800 Walnut Street MAC F0005-055          Tuscumbia, AL 35674-2429
                                       Des Moines, IA 50309-3891


Haleyville Saw Shop, Inc.              Hoker Trucking                           Integrated Corporate Solutions, Inc.
1556 Highway 243 S                     30923 52nd Ave                           PO Box 443
Haleyville, AL 35565-7384              Dixon, IA 52745-9719                     Florence, AL 35631-0443



Internal Revenue Service               Internal Revenue Service                 JLE Industries, LLC
Centralized Insolvency Operations      P.O. Box 7346                            119 ICMI Rd, Ste 210
PO Box 7346                            Philadelphia, PA 19101-7346              Dunbar, PA 15431-2358
Philadelphia, PA 19101-7346


James G. Henderson                     John Ellis Trucking, Inc.                Joyce White Vance
Pritchard, McCall & Jones, L.L.C.      3078 Lake Grove Dr.                      US Attorney General
505 N 20th Street, Suite 1210          Hernando, MS 38632-7900                  1801 4th Ave North
Birmingham, AL 35203-4662                                                       Birmingham, AL 35203-2101


Just Right Services, Inc.              Karen Schwartz McClure, Esq.             King of Freight, LLC
574 Rose of Sharon Rd                  1609 Richard Arrington Jr. Blvd. South   110 S. Main St., Ste # 300
Cutler, IL 62238-1100                  Birmingham, AL 35205-4952                Wichita, KS 67202-3751



Loretta Lynch US Attorney General      Luther Strange                           MJS Transportation, Inc.
US Dept. of Justice                    Alabama Attorney General                 PO Box 816
950 Pennsylvania Ave NW                PO Box 300152                            Decatur, IN 46733-0816
Washington, DC 20530-0009              Montgomery, AL 36130-0152


Miner Saw, Inc.                        Motion Industries, Inc.                  Nextran Corporation dba Nextran Rental & Lea
PO Box 2214                            PO Box 404130                            Mr. Luis Colon, Director of Credit
Decatur, AL 35609-2214                 Atlanta, GA 30384-4130                   8100 Chancellor Drive, Suite 130
                                                                                Orlando, FL 32809-7664


On Time Truck Hauling                  Pendu MFG, Inc.                          Pitney Bowes
21820 Grand Lancelot Dr.               718 North Shirk Rd.                      PO Box 371887
Kingwood, TX 77339-7700                New Holland, PA 17557-9721               Pittsburgh, PA 15250-7887



Purchase Power                         Quill Corporation                        Quill Tom Riggleman
PO Box 371874                          PO Box 37600                             7 Technology Circle
Pittsburgh, PA 15250-7874              Philadelphia, PA 19101-0600              Columbia, SC 29203-9591


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Robert M. Ronnlund                                   Sam T Carter Oil Company Inc                         Secretary of the Treasury
Scott Sullivan Streetman & Fox, P.C.                 Carter Oil Company Inc                               1500 Pennsylvania Ave., NW
2450 Valleydale Road                                 P O Box 487                                          Washington, DC 20220-0001
Birmingham, AL 35244-2015                            Sheffield, AL 35660-0487


Shoals Rubber & Gasket                               State of Alabama                                     TW3 c/o Transport Clearing East
PO Box 1786                                          Department of Revenue Legal Division                 4651 Charlotte Park Dr., Ste 450
Decatur, AL 35602-1786                               PO Box 320001                                        Charlotte, NC 28217-1910
                                                     Montgomery, AL 36132-0001


Three Chimney Express, Inc.                          Timber Products Inspection                           Total Quality Logistics, LLC
2962 Three Chimney Rd                                PO Box 919                                           Attn: Joseph B. Wells, Asst. Corp. Couns
Viroqua, WI 54665                                    Conyers, GA 30012-0919                               4289 Ivy Pointe Blvd.
                                                                                                          Cincinnati, OH 45245-0002


U.S. Securities and Exchange Commission              United Lumber & Reman, LLC                           United States Attorney
Regional Director, Branch of Reorganizat             c/o Robert M. Ronnlund                               Northern District of Alabama
Atlanta Regional Office, Suite 900                   Scott Sullivan Streetman & Fox, P.C.                 1801 Fourth Avenue North
950 East Paces Ferry Road                            2450 Valleydale Road                                 Birmingham, AL 35203-2101
Atlanta, GA 30326-1180                               Birmingham, AL 35244-2015

United States Bankruptcy Administrator               Vulco Auto Supply                                    Wells Fargo Lift
Northern District of Alabama                         416 Buffalo Rd.                                      Manufacturer Services Group
1800 Fifth Avenue North                              Lawrenceburg, TN 38464-3214                          San Francisco, CA 94120
Birmingham, AL 35203-2111


Weyerhaeuser NR Company                              Douglas B. Hargett                                   G. Rick Hall
220 Occidental Ave S.                                Hall Tanner Hargett P.C.                             Hall Tanner Hargett, P.C.
Seattle, WA 98104-3120                               201 North Water Street                               201 North Water Street
                                                     Tuscumbia, AL 35674-1926                             Tuscumbia, AL 35674-1926


Richard M Blythe                                     Stuart M Maples
United States Bankruptcy Administrator               Maples Law Firm, PC
PO Box 3045                                          200 Clinton Avenue W.
Decatur, AL 35602-3045                               Suite 1000
                                                     Huntsville, AL 35801-4919



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


*First Metro Bank                                    *Sunbelt Paper and Packaging
406 West Avalon Ave.                                 PO Box 521
Muscle Shoals, AL 35661                              Saginaw, AL 35137




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.

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(u)CB&S Bank                            (u)First Metro Bank                End of Label Matrix
                                                                           Mailable recipients   79
                                                                           Bypassed recipients    2
                                                                           Total                 81




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